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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON


                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )          Criminal No. 11-16-GFVT
        Plaintiff,                               )
                                                 )
 V.                                              )                   ORDER
                                                 )
 CHRISTOPHER LEE CARTER,                         )
                                                 )
        Defendant.                               )
                                                 )
                                                 )


                                      *** *** *** ***

       This matter is before the Court upon the reported violations of supervised release

conditions by Defendant Christopher Carter. This issue was referred to Magistrate Judge Hanly

A. Ingram [R. 197], who conducted a hearing pursuant to Federal Rule of Criminal Procedure

32.1(b). [R. 199]. Following this hearing, Judge Ingram prepared a Recommended Disposition,

in which he recommended revocation and imprisonment for a term of nine months based on the

violations found, with a 27-month term of supervised release under the conditions previously

imposed to follow. [R. 200]. Judge Ingram also recommended that charged Violation #2 in the

report be dismissed. [R. 200].

       Pursuant to 28 U.S.C. § 636(b)(1), a party has fourteen days after being served with a

copy of the Recommended Disposition to file a specific written objection. Upon receiving an

objection by a party, this Court must conduct a de novo review of the portion of the

Recommended Disposition to which the party specifically objected. However, as Judge Ingram
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warned in his Recommended Disposition, “Failure to make timely objection consistent with this

statute and rule may, and normally will, result in waiver of further appeal to or review by the

District Court or Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir.

1981); Thomas v. Arn, 106 S. Ct. 466 (1985).” [R. 184].

       As the period for the Defendant to file his objections to the Recommended Disposition

has passed and no objection has been raised, the Defendant has effectively waived any rights he

might have had to de novo review by this Court or an appeal in the Court of Appeals. Further,

the Defendant filed a waiver of allocution [R. 203], expressly waiving any right he might have

had to a hearing prior to a final judgment by this Court. Therefore, the Court having now

reviewed the Report and Recommendation hereby accepts the recommendation of the Magistrate

Judge and adopts it as and for the opinion of this Court.

       Accordingly, it is hereby ORDERED as follows:

       1.      The Magistrate Judge’s Recommended Disposition [R. 200] is ADOPTED as and

for the opinion of this Court;

       2.      The Defendant’s supervised release is revoked in favor of imprisonment for a

term of nine months based on the violations found, with a 27-month term of supervised release

under the conditions previously imposed to follow.

       3.      Violation #2 in the report shall be dismissed.

       4.      An Amended Judgment shall be entered.

       This 8th Day of April, 2014.




                                                 2
